Case 2:15-cv-04424-AG-AJW Document 366 Filed 05/15/17 Page 1 of 6 Page ID #:17803




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   12   Attorneys for Defendants
   13   UNICLASS TECHNOLOGY CO. LTD., ET AL
   14                     UNITED STATES DISTRICT COURT
   15                   CENTRAL DISTRICT OF CALIFORNIA
   16
        ATEN TECHNOLOGY, CO. LTD.              No. 2:15-cv-04424-BRO-AJW
   17
                            Plaintiff,        DEFENDANT’S WITNESS LIST
   18
                                              PURSUANT TO L.R. 16-5
   19       vs.
                                              Final Pre-Trial: June 5, 2017
   20
                                              Hearing Time: 9:30 A.M.
        UNICLASS TECHNOLOGY CO.,
   21                                         Courtroom: 10D
        LTD., et al.                          Judge: Hon. Andrew Guilford
   22                Defendants.              Trial Date: June 20, 2017
   23
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             _________________________________________________________________
Case 2:15-cv-04424-AG-AJW Document 366 Filed 05/15/17 Page 2 of 6 Page ID #:17804




 1         TO THE COURT, DEFENDANTS, AND ITS ATTORNEYS OF RECORD:
 2   Pursuant to Local Rule 16-5 and Federal Rule of Civil Procedure 26(a)(3)(A)
 3   Defendants Uniclass Technology Co., Ltd., Electronic Technology Co., Ltd. of
 4   Dongguan Uniclass, Airlink 101, Phoebe Micro Inc., Broadtech International Co.,

 5   Ltd. D/B/A/ Linkskey, Black Box Corporation, and Black Box Corporation Of
     Pennsylvania (“Defendants”), by and through undersigned counsel, expects to call
 6
     the following as witnesses at trial in this matter:
 7
        1. Alex Kuan
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           Mr. Alex Kuan is the President of Uniclass. Defendants intend to call Mr. Kuan
 9
     to testify regarding the licensing history between Uniclass and Aten and financial
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     matters regarding damages.
11
        2. Ted Chen
12
           Mr. Ted Chen is the vice president of the R&D Department at Uniclass.
13   Defendants intend to call Mr. Chen to testify regarding the structure and functionality
14   of the accused products.
15      3. Robert Dezmelyk
16         Robert Dezmelyk is Defendants technical expert. Mr. Dezmelyk will testify,
17   consistent with his expert reports, regarding non-infringement and/or invalidity of
18   Aten’s patents.
19      4. Scott Cragun
20         Scott Cragun is Defendants damages expert. Mr. Cragun will testify, consistent
21   with his expert report, regarding Aten’s claims for damages.
22      5. David Vong

23         Mr. David Vong is a purchaser of the prior art LKV-248AUSK product Aten
     has accused of infringing all claims of the ’141 Patent. Defendants intend to call Mr.
24
     Vong as to this purchase and use of the LKV-248AUSK prior art product, consistent
25
     with his declaration produced in this case.
26
        6. Kevin Chen
27
           Mr. Kevin Chen is the CEO of Aten. He is also a listed inventor on the
28
     7,640,289, 7,472,271 and 6,957,287 patents. Defendants intend to call Mr. Chen to
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Case 2:15-cv-04424-AG-AJW Document 366 Filed 05/15/17 Page 3 of 6 Page ID #:17805




 1   testify regarding Aten’s prior art products, as well matters regarding licensing this
 2   technology to Uniclass. In addition, Mr. Chen will testify about the KVM market, the
 3   KVM OEM market, including competitors, and Aten’s OEM sales
 4      7. Chen Chung Hsien (“C.H. Chen”)

 5         Mr. C.H. Chen is the head of Aten’s OEM department. Defendants intend to
     call Mr. Chen to testify regarding the OEM market for KVM switches, as well as to
 6
     rebut Aten’s pricing of the products that it claims compete directly with Defendants’
 7
     accused products.
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        8. Chao Hsuan Hsueh (“Charlie”)
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           Mr. Chao Hsuan Hsueh is the head of Aten’s innovation center. Defendants
10
     intend to call Mr. Hsueh to testify as to Aten’s products it alleges are covered by the
11
     asserted patents. Defendants also intend to call Mr. Hsueh as he is an inventor on
12
     patents related to the ’287 Patent.
13         In Plaintiff’s Witness List Pursuant to L.R. 16-5, it states on page 2 that
14   “Defendants did not provide a preliminary list of witnesses to it prior to its filing.”
15   This statement is incorrect. Defendants’ preliminary witness list was provided at
16   least as early as the date its exhibit list was exchanged, on February 20, 2017 in
17   accordance with the agreement between counsel.
18         Defendants reserve the right to make amendments to this list.
19
20   Dated: May 15, 2017                     Respectfully submitted,
21                                           /s/ Joseph G. Pia
22                                           Robert E. Aycock
                                             Joseph G. Pia
23                                           Jen-Feng “Jeff” Lee
24                                           Attorney for Defendants
                                             UNICLASS TECHNOLOGY CO., LTD.,
25                                           ELECTRONIC TECHNOLOGY CO., LTD.
26                                           OF DONGGUAN UNICLASS,
                                             AIRLINK 101, PHOEBE MICRO INC.,
27                                           BROADTECH INTERNATIONAL CO.,
28                                           LTD. D/B/A/ LINKSKEY, BLACK BOX

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Case 2:15-cv-04424-AG-AJW Document 366 Filed 05/15/17 Page 4 of 6 Page ID #:17806




 1                                     CORPORATION, and BLACK BOX
                                       CORPORATION OF PENNSYLVANIA
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Case 2:15-cv-04424-AG-AJW Document 366 Filed 05/15/17 Page 5 of 6 Page ID #:17807




 1                                    PROOF OF SERVICE

 2
     I am over the age of eighteen (18) years, and not a party to the above-entitled action.
 3   My business address is 136 E. South Temple, Suite 1900, Salt Lake City, Utah
 4   84111.
 5   On May 15, 2017, I served:
 6   DEFENDANTS WITNESS LIST PURSUANT TO L.R. 16-5
 7
     addressed as follows to:
 8
 9      Lei Mei
        mei@meimark.com
10      P. Andrew Riley
11      ariley@meimark.com
        Larry Sandell
12      lsandell@meimark.com
13      Irene Chen
        ichen@meimark.com
14      MEI & MARK LLP
15      P.O. Box 65981
        Washington, DC 20035-5981
16
17         BY MAIL: I deposited with the United States Postal Service on the same day
     with postage thereon fully prepaid at Pasadena, California. I am aware that, on the
18   motion of the party served, service is presumed invalid if the postal cancellation date
19   or postage meter date is more than one (1) day after the date of deposit for mailing
     shown on this proof of service.
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21        BY FACSIMILE: I caused a copy of such document to be sent via facsimile
     machine to the office(s) of the addressee(s) at the phone number(s) shown above.
22
23   X      BY E-MAIL: I caused a copy of such document to be sent via e-mail to the
     office(s) of the addressee(s) shown above.
24
25         BY PERSONAL SERVICE
26
            FEDERAL COURT: I caused such envelope to be delivered by hand directly
27   to the addressee(s).
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Case 2:15-cv-04424-AG-AJW Document 366 Filed 05/15/17 Page 6 of 6 Page ID #:17808




 1          STATE COURT: I caused such envelope to be delivered by hand to the offices
     of the addressee(s).
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 3          FEDERAL: I declare, under penalty of perjury under the laws of the United
     States that the foregoing is true and that I am employed in the office of a member of
 4   the Bar of this Court at whose direction the service was made.
 5
     Executed on May 15, 2017 at Salt Lake City, Utah.
 6
 7                                          /s/ Joseph G. Pia
                                            Joseph G. Pia
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